    Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 1 of 20 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


FREUD AMERICA, INC.,                                   )
                                                       )
                      Plaintiff,                       )      Civil Action No. 20-cv-109
        v.                                             )
                                                       )
MILWAUKEE ELECTRIC TOOL                                )
CORPORATION,                                           )
                                                       )
                      Defendant.                       )

                                                COMPLAINT

        Plaintiff Freud America, Inc. (“Freud”) hereby files this Complaint against

Defendant Milwaukee Electric Tool Corporation (“Milwaukee”) based on the following

allegations:

                                    PRELIMINARY STATEMENT

        1.       This is a case about the validity of Freud’s incontestable trademark

registration for the color red “as applied to the entire surface of the goods except the

cutting edge and annular hub or shaft” for “cutting tools for power woodworking

machines, namely . . . saw blades . . .” (Registration No. 2464769) (“‘769 Registration”

and “Red Mark”).1




1
  The entire identification of goods for the ‘769 Registration is “cutting tools for power woodworking machines,
namely, shaper cutters, saw blades, router bits and forestner bits.” However, Milwaukee did not petition to cancel
the ‘769 Registration with respect to shaper cutters, router bits, or forestner bits, so that portion of the ‘769
Registration is not at issue here.
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 2 of 20 PageID #: 2




        2.    Freud is an industry leader in cutting tool accessories and is one of the key

players in the market for high-end circular saw blades used by contractors and

sophisticated woodworkers.

        3.    Since 1996, Freud has extensively advertised and sold cutting tool

accessories, including circular saw blades, bearing the Red Mark. In particular, from

2001 (the first year for which Freud has complete sales information) to July 2016, Freud

sold over 48 million red circular saw blades for total sales of over $670 million. From

1997 to 2016, Freud spent over $10 million advertising and promoting its cutting tool

accessories, including its red circular saw blades bearing the Red Mark.

        4.    Freud filed the application underlying the ‘769 Registration on August 6,

1996.

        5.    The Patent and Trademark Office (“PTO”) issued the ‘769 Registration on

July 3, 2001, and it became incontestable under Section 15 of the Lanham Act, 15 U.S.C.

§ 1065, on April 10, 2007.

        6.    The PTO’s decision to register the Red Mark remained undisturbed for over

13 years, until Milwaukee filed a petition to cancel the ‘769 Registration with the

Trademark Trial and Appeal Board (“Board”) on July 18, 2014, arguing that Freud’s

well-known Red Mark is generic with respect to saw blades because it is “so common in

the industry that it cannot identify a particular source of [goods] and cannot distinguish

[Freud’s goods] from the goods of others.”




                                             -2-
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 3 of 20 PageID #: 3




       7.     Freud filed a motion to amend the identification of goods in the ‘769

Registration under Section 18 of the Lanham Act, 15 U.S.C. § 1068, solely in the event

that the Board deemed such amendment necessary to dismiss the cancellation. Freud

requested that “saw blades” be amended to “saw blades excluding reciprocating saw

blades and jigsaw blades” (emphasis added), so that the ‘769 Registration would cover

products such as circular saw blades used for power woodworking machines, but

expressly exclude reciprocating saw blades and jigsaw blades (“Section 18

Amendment”). A copy of the motion for the Section 18 Amendment is attached hereto as

Exhibit A (“Motion”), the contents of which are incorporated herein.

       8.     During the cancellation proceeding, Freud introduced substantial evidence

of the ever-increasing sales and advertising of its red cutting tool accessories from 1997

to 2016, including: advertisements that encouraged consumers to look for red when they

sought to purchase Freud’s products; well-known third-party publications featuring

Freud’s Red Mark, such as Popular Mechanics and Woodworker’s Journal; the myriad

colors Freud’s major competitors use on their saw blades.

       9.     Milwaukee responded to Freud’s wealth of evidence with a sea of red

herrings, including irrelevant red products (e.g., hole saws, which are used to drill, like

drills and drill presses do, rather than to cut, like saw blades do; hacksaw blades, which

are hand tools that cannot be used with power woodworking machines; and blades used

to cut materials other than wood, such as concrete); blades that were not actually red;

website print-outs that failed to prove any third-party red blades were ever sold or the



                                             -3-
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 4 of 20 PageID #: 4




extent to which consumers may have been exposed to them; Milwaukee’s trademark

registrations for the word marks RED LITHIUM and THE RED ZONE, which are not

used in connection with red saw blades; and third-party trademark registrations for design

marks that include partial images of red saw blades, but which are not used in connection

with the sale of red blades.

       10.    Milwaukee also relied heavily on inadmissible hearsay documents, such as

print-outs from the Wayback Machine (archive.org) that Milwaukee used to try to prove

how websites appeared on certain dates in the past, and communications from recipients

of Freud’s demand letters who did not testify at trial.

       11.    Milwaukee did not adduce evidence that any of Freud’s major competitors

sells red saw blades in the U.S., with the exception of a de minimis number of red

Milwaukee jigsaw blades.

       12.    Despite the evidence heavily favoring Freud, the Board granted the petition

to partially cancel the ‘769 Registration on the ground of genericness and denied Freud’s

Motion for the Section 18 Amendment.

       13.    The Board’s decision is legally and factually erroneous in many respects.

Freud hereby petitions this Court for a de novo review of the record and reversal of the

Board’s decision to partially cancel the ‘769 Registration.

                                         PARTIES

       14.    Plaintiff, Freud America, Inc., is a North Carolina corporation

headquartered at 218 Feld Avenue, High Point, North Carolina.



                                             -4-
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 5 of 20 PageID #: 5




       15.    Defendant, Milwaukee Electric Tool Corporation, is a Delaware

corporation headquartered at 13135 West Lisbon Road, Brookfield, Wisconsin.

                             JURISDICTION AND VENUE

       16.    This Court has subject matter jurisdiction over this matter pursuant to 15

U.S.C. § 1071(b), because Freud is challenging a final decision of the Trademark Trial

and Appeal Board by filing a civil action; pursuant to 28 U.S.C. § 1331, because this

action arises under the federal Lanham Act; and pursuant to 15 U.S.C. § 1119, because

Freud asks this Court to reverse the Board’s order canceling the ‘769 Registration.

       17.    This Court has personal jurisdiction over Milwaukee pursuant to N.C. Gen.

Stat. § 1-75.4. On information and belief, Milwaukee regularly has solicited business in

the State of North Carolina and in this District, has transacted and done business in North

Carolina and in this District, and derives substantial revenue from interstate commerce,

including commerce in North Carolina and in this District. In particular, on information

and belief, Milwaukee regularly promotes and advertises its power tools and power tool

accessories in North Carolina and has sold its power tools and power tool accessories

within North Carolina and this District. Milwaukee applied for a Certificate of Authority

to transact business in the state of North Carolina as recently as October 11, 2019.

Moreover, Milwaukee’s petition to cancel the ‘769 Registration was directed at Freud’s

property located in this District, as Freud maintains its offices and headquarters here.

       18.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), because

Milwaukee is subject to personal jurisdiction in this District and a substantial part of the



                                             -5-
     Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 6 of 20 PageID #: 6




events giving rise to Freud’s claims occurred in this District. In particular, on

information and belief, Milwaukee regularly promotes and sells its power tools and

power tool accessories in this District. Moreover, this case involves ownership of

Freud’s ‘769 Registration, and given that Freud’s offices and headquarters are located in

this District, a substantial part of the property that is the subject of this suit is located in

this District.

                                            FACTS

I.      FREUD’S WELL-KNOWN RED MARK

        A.       Freud has sold over $670 million in red circular saw blades from 2001
                 to July 2016, and its sales continue to increase.

        19.      From 2001 (the first year for which complete sales figures are available)

through the close of discovery in the cancellation proceeding in July 2016, Freud sold

over 48 million circular saw blades bearing the Red Mark, for total sales of over $670

million.

        20.      Since 2016, Freud’s sales of circular saw blades bearing the Red Mark have

significantly increased on an annual basis.

        B.       Consumers associate the Red Mark with Freud’s circular saw blades as
                 a result of Freud’s extensive advertising and promotion.

        21.      Freud has engaged in extensive advertising and promotion of its red cutting

tool accessories, including its red circular saw blades, for decades, including through

print advertisements in magazines, trade publications, and other periodicals; sell sheets

distributed to its dealers; its own and third-party catalogs; trade shows; in-store displays;



                                               -6-
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 7 of 20 PageID #: 7




and product demonstrations. Indeed, from 1997 to July 2016, Freud spent over $10

million advertising and promoting its products bearing the Red Mark.

       22.    Many of Freud’s advertising and marketing pieces are designed to directly

associate the Red Mark with Freud in consumers’ minds. For example, Freud’s “Spice

Up Your Saw – Red Hot Sauce” campaign included sell sheets, stickers, and promotional

hot sauce bottles picturing Freud’s red circular saw blades. Other campaigns featuring

Freud’s Red Mark included the taglines “Well Red,” “Make it Red,” and “Radical.

Rugged. Red.”

       23.    Most of Freud’s advertising and marketing materials include explicit

trademark claims, such as, “Red is a registered trademark of Freud USA Inc.” or “Red

saw blades are a registered trademark of Freud America, Inc.” Freud has included these

types of claims in its advertising and marketing materials since as early as 1996.

       24.    Third-party publications that target members of the woodworking or

construction industries, such as Popular Mechanics, Workbench, Woodworker’s Journal,

Wood, American Woodworker, Woodcraft, ShopNotes, Fine Woodworking, Tools of the

Trade, and Pro Tool Reviews, frequently include unsolicited references to Freud’s saw

blades bearing the Red Mark.

       25.    Freud maintains an active social media presence, having created Facebook

accounts for its Freud and Diablo brands in 2010, and Instagram accounts for both brands

in 2012. Freud uses these accounts to post photos and videos of its products in action,

run sweepstakes, re-post content from third-party accounts that highlight Freud’s



                                            -7-
  Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 8 of 20 PageID #: 8




products, and interact with its customers. Freud—and third parties, including Freud’s

customers—often use #redtools, “Red Tools,” or similar language when referring to

Freud or its products on social media, which further demonstrates consumer awareness

that the Red Mark is a brand associated with Freud and its products.

       26.    Additionally, Freud began creating and posting videos to YouTube in or

around 2010, the majority of which demonstrate how to use Freud’s red saw blades.

Currently, these videos have received more than 182,000 views combined. Consumers,

The Home Depot, and other users also post videos on YouTube that feature Freud’s red

saw blades.

       C.     Freud is the only major player in the saw blade industry that sells
              predominantly red saw blades.

       27.    None of Freud’s major competitors in the saw blade industry have sold red

circular saw blades since Freud adopted the color for its circular saw blades in 1996.

       28.    Freud’s major competitors and others in the saw blade industry sell saw

blades in numerous colors other than red, such as white, blue, orange, yellow, black,

gray, gold, green, and a natural metal color.

       29.    Milwaukee claims that its own sale of red reciprocating and jigsaw blades

weakens Freud’s rights in the Red Mark for “saw blades excluding reciprocating saw

blades and jigsaw blades,” but Milwaukee stopped selling red reciprocating saw blades

over a decade ago, and its sale of four SKUs of red jigsaw blades are de minimis.




                                            -8-
    Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 9 of 20 PageID #: 9




II.      HISTORY OF THE ‘769 REGISTRATION

         30.      Freud used the Red Mark in connection with cutting tool accessories at

least as early as February 28, 1988, and in connection with saw blades at least as early as

July 31, 1996.

         31.      Freud filed the application that matured into the ‘769 Registration (Serial

No. 75150972, “Application”) on August 6, 1996.

         32.      The Application published for opposition on April 10, 2001. Neither

Milwaukee, nor any third party, opposed the Application.

         33.      The Application matured into the ‘769 Registration on July 3, 2001.

III.     BOARD CANCELLATION PROCEEDING

         34.      On July 18, 2014, Milwaukee filed a petition to cancel the ‘769

Registration on the grounds of genericness.2

         35.      On December 2, 2019, the Board issued its final decision, in which it

ordered the cancellation of Freud’s incontestable ‘769 Registration on the grounds of

genericness. A copy of the Board’s decision is attached hereto as Exhibit B (“Decision”).

IV.      REPRESENTATIVE ERRORS OF FACT AND LAW MADE BY THE
         BOARD




2
  Milwaukee also petitioned to cancel the ‘769 Registration on the grounds that it fails to function as a trademark
(which the Board found was simply an amplification of the genericness claim), and subsequently amended its
petition to add a claim for fraud on the PTO. Neither of these grounds for cancellation is relevant to this appeal.
Milwaukee also petitioned to cancel another registration owned by Freud, for the color red as applied to “blades for
reciprocating power saws” (Reg. No. 4028314) (“‘314 Registration”). The Board consolidated the two cancellation
proceedings and ultimately ordered the cancellation of the ‘314 Registration on the grounds of genericness and lack
of acquired distinctiveness. Freud does not appeal the Board’s ruling with respect to the ‘314 Registration.



                                                        -9-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 10 of 20 PageID #: 10




         36.   The Board’s legal conclusions were erroneous and based on factual

findings not supported by substantial evidence. Freud appeals, among others, the

following erroneous findings by the Board and requests de novo review.

         A.    The Board erred by considering evidence of red saw blades that cut
               materials other than wood.

         37.   Although the ‘769 Registration is limited to “cutting tools for power

woodworking machines” (emphasis added), the Board’s Decision erroneously states,

“Saw blades that cut material besides wood . . . are relevant to [the] analysis.” Decision,

p. 20.

         38.   Based on this erroneous finding, the Board improperly considered

Milwaukee’s evidence of red blades intended to cut materials other than wood, such as

segmented diamond rim blades for cutting pavers, soft brick, asphalt and concrete/block;

blades for cutting aluminum, plastic, fiberglass, and metal; and diamond blade abrasive

wheels.

         B.    The Board erred by considering evidence of red hole saws used in drills
               and drill presses.

         39.   The ‘769 Registration is limited to “cutting tools for power woodworking

machines” (emphasis added). Hole saws are not cutting tools, but rather, drill bits used in

connection with power drills and drill presses. A hole saw is inserted into a drill or drill

press and spins in the same manner as a drill bit.

         40.   The United States Customs Court has held that hole saws are not saw

blades. In denying a protest regarding the classification of hole saws, the Customs Court



                                             -10-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 11 of 20 PageID #: 11




stated, “Exhibits 1 and 2 [hole saws for cutting wood and metal, respectively] are not

blades for saws. They are not used in saws but are interchangeable tools used in electric

drills, drill presses and flexible shafts. They are cylindrical tools and not blades.” Dollar

Trading Corp. v. United States, 349 F. Supp. 1395, 1400 (Cust. Ct. 1971), aff’d, 468 F.2d

631 (C.C.P.A. 1972).

       41.     Milwaukee’s own website and catalogs list hole saws under the “drilling,”

not “cutting,” product category, and refer to the products as “hole saws,” not “hole saw

blades.”

       42.     In addition to Milwaukee, Freud and many others (such as Lenox,

Craftsman, Irwin, Ace Hardware, Menards, DeWalt, The Home Depot, Bosch, Lawson

Products, and Ethan Tools) promote hole saws separately from saw blades or characterize

hole saws as drill bits or drill accessories.

       43.     Despite the foregoing evidence, the Board’s Decision erroneously states,

“the genus ‘saw blades for power woodworking machines’ must be read to include the

species of . . . hole saw blades” and “hole saws are a type of saw blade used with drills

which also are power woodworking machines.” Decision, pp. 19, 68. Based on these

incorrect findings, the Board improperly considered Milwaukee’s evidence of dozens of

red hole saws.




                                                -11-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 12 of 20 PageID #: 12




       C.     The Board erred by making unsupported factual findings regarding the
              alleged size of third-party sellers of red blades.

       44.    The Board erred by finding, “dozens of manufacturers, large and small,

have used and continue to use red on a variety of saw blades.” Id., p. 66 (emphasis

added).

       45.    There is no direct evidence in the record regarding the size of any saw

blade sellers that sell red blades, other than Freud and Milwaukee.

       46.    Freud objected to Milwaukee’s introduction into evidence of website print-

outs purporting to show the size, or number of retail locations, of third-party businesses

on the grounds of hearsay and lack of foundation, because website print-outs cannot be

offered to prove the truth of the matters asserted. The Board, however, appears to have

improperly considered this evidence, despite Freud’s objections.

       D.     The Board erred by considering evidence of trademark registrations for
              design marks including partial, red-colored circular saw blades.

       47.    The Board erred by treating registrations for the SCARFMASTER and

TUBEMASTER design marks, which include images of partial, red-colored circular saw

blades, “relevant” to the proceeding. Id., pp. 66–67. The Board further erred when it

found the fact that “one manufacturer has even registered a depiction of a red saw blade

as part of its SCARFMASTER and TUBEMASTER trademarks” was part of the

evidence that “overwhelmingly demonstrates that the color red on saw blades is so

common in the industry that it cannot identify a single source for saw blades for power

woodworking machines . . .” Id.



                                            -12-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 13 of 20 PageID #: 13




       48.    The Board should have excluded these registrations because Milwaukee

offered no evidence that the owner of the registrations sells any red-colored saw blades.

Moreover, third-party registrations do not prove that a third-party mark is actually in use,

that consumers are familiar with the mark, or that the mark is likely to have any effect on

consumer perception.

       E.     The Board erred by giving undue weight to Milwaukee’s evidence of the
              extent to which consumers are exposed to third-party red blades.

       49.    The Board acknowledges there is limited evidence of actual sales of third-

party red blades, but gives undue weight to Milwaukee’s purchase of some of the blades,

“particularly over the Internet.” Id., pp. 67–68. Milwaukee’s isolated purchases of saw

blades, particularly purchases over the Internet, do not demonstrate the extent to which

consumers may have been exposed to these third-party blades.

       50.    Evidence of third-party catalogs and websites purportedly selling red

blades—without any evidence regarding the time during which the blades were available

or how many were purchased—is of similarly limited probative value. Website print-

outs are of minimal value absent evidence of the extent of consumer exposure to them.

       F.     The Board erred in finding the Red Mark generic at the time Freud filed
              the Application.

       51.    The Board erred in finding the Red Mark generic for saw blades at the time

Freud filed its Application.

       52.    Freud filed the Application on August 6, 1996.




                                            -13-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 14 of 20 PageID #: 14




        53.     The record includes evidence of only one third-party red blade

purportedly advertised in 1996. This evidence does not support a finding that the Red

Mark was generic for saw blades in 1996.

        G.      The Board erred by giving inadequate consideration to Freud’s Motion
                for Section 18 Amendment.

        54.     During the cancellation proceeding, Freud filed a Motion for the Section 18

Amendment, solely in the event that the Board deemed such amendment necessary to

dismiss the cancellation. In its Motion, Freud stated:

        [I]f, however, the Board ultimately finds that Freud is not entitled to
        registration in the absence of a restriction to the identification of goods in
        the subject registration, then Freud requests, as a Section 18 affirmative
        defense, the following changes to the identification of goods in Reg. No.
        2,464,769 (proposed new language underlined): “cutting tools for power
        woodworking machines, namely, shaper cutters, saw blades excluding
        reciprocating saw blades and jigsaw blades, router bits and forestner bits.”

Motion, p. 2. Freud also included a request for the Section 18 Amendment (in the

alternative) in its trial brief.

        55.     The Section 18 Amendment proposed by Freud in the proceeding would

effectively limit the scope of the ‘769 Registration to the color red applied to products

such as circular saw blades used for power woodworking machines, and would expressly

exclude products such as reciprocating saw blades and jigsaw blades.

        56.     The Board’s analysis of Freud’s proposed Section 18 Amendment consists

of a single paragraph. Decision, pp. 88–89. In cursory fashion, and with insufficient

explanation, the Board denied the Motion because the proposed Section 18 Amendment




                                             -14-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 15 of 20 PageID #: 15




did not exclude “non-wood-cutting circular saw blades that can be used on power

woodworking machines, sabre saw blades, and hole saws, among others.” Id.

       57.    The Board improperly considered third-party red reciprocating saw blades,

jigsaw blades and sabre saw blades to support its determination that the ‘769

Registration, as amended under Section 18, was generic, because such products are

outside the scope of the registration.

       58.    The Board also improperly considered third-party red hole saws and saw

blades that cut materials other than wood to support its determination that the ‘769

Registration, as amended under Section 18 of the Lanham Act, was generic. Hole saws

and blades that cut materials other than wood are not relevant to this matter. The Board

erred in considering them when ruling on Freud’s Motion for a Section 18 Amendment.

See Sections IV(A)–(B), supra.

                                  CAUSES OF ACTION

                          COUNT I
 APPEAL FROM DECISION OF TRADEMARK TRIAL AND APPEAL BOARD
                PURSUANT TO 15 U.S.C. § 1071(b)

       59.    Freud re-alleges paragraphs 1–58, as if fully set forth herein.

       60.    Freud appeals the erroneous December 2, 2019 Decision of the Trademark

Trial and Appeal Board in the matter of Milwaukee Electric Tool Corp. v. Freud

America, Inc., Cancellation Nos. 92059634 and 92059637.

       61.    The December 2, 2019 Decision is a final decision subject to review under

Section 21 of the Lanham Act, 15 U.S.C. § 1071.



                                            -15-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 16 of 20 PageID #: 16




      62.    The Board’s conclusions of law are incorrect and its findings of fact are not

supported by substantial evidence.

      63.    Freud has not appealed the Board’s Decision to the United States Court of

Appeals for the Federal Circuit.

      64.    Freud seeks a de novo review of the Board’s Decision.

      65.    Freud seeks a reversal of the Board’s order to partially cancel the ‘769

Registration for “cutting tools for power woodworking machines, namely . . . saw blades”

on the grounds of genericness.

      66.    Freud further seeks an order requiring that the PTO not partially cancel the

‘769 Registration for “cutting tools for power woodworking machines, namely . . . saw

blades” on the grounds of genericness.

      67.    In the first alternative to the requests made in Paragraphs 65 and 66, Freud

seeks an order requiring the PTO to amend the ‘769 Registration pursuant to Section 18

of the Lanham Act, 15 U.S.C. § 1068, and/or pursuant to this Court’s authority under

Section 37 of the Lanham Act, 15 U.S.C. § 1119, to “cutting tools for power

woodworking machines, namely, shaper cutters, saw blades excluding reciprocating saw

blades and jigsaw blades, router bits and forestner bits” and ordering the PTO not to

cancel the ‘769 Registration as amended in this paragraph.

      68.    In the second alternative to the requests made in Paragraphs 65 and 66,

Freud seeks an order requiring the PTO to amend the ‘769 Registration pursuant to

Section 37 of the Lanham Act, 15 U.S.C. § 1119, to “cutting tools for power



                                           -16-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 17 of 20 PageID #: 17




woodworking machines, namely, shaper cutters, circular saw blades, router bits and

forestner bits” and ordering the PTO not to cancel the ‘769 Registration as amended in

this paragraph.

                                COUNT II
                   REQUEST FOR DECLARATORY JUDGMENT
                    PURSUANT TO 28 U.S.C. §§ 2201 AND 2202

       69.    Freud re-alleges paragraphs 1–68, as if fully set forth herein.

       70.    Freud’s ‘769 Registration has been challenged by Milwaukee on the

grounds that the Red Mark is generic for “cutting tools for power woodworking

machines, namely . . . saw blades . . .”

       71.    As such, there exists an actual controversy among the parties as to the

continued registrability of the Red Mark, with respect to which Freud requests a

declaratory judgment pursuant to 28 U.S.C. § 2201.

       72.    Freud seeks an order declaring that the Red Mark, as used in connection

with “cutting tools for power woodworking machines, namely . . . saw blades” is not

generic and is registrable as a trademark with the PTO.

       73.    In the first alternative to the request made in Paragraph 72, Freud seeks an

order declaring that the Red Mark, as used in connection with “cutting tools for power

woodworking machines, namely . . . saw blades excluding reciprocating saw blades and

jigsaw blades” is not generic and is registrable as a trademark with the PTO.

       74.    In the second alternative to the request made in Paragraph 72, Freud seeks

an order declaring that the Red Mark, as used in connection with “cutting tools for power



                                            -17-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 18 of 20 PageID #: 18




woodworking machines, namely . . . circular saw blades” is not generic and is registrable

as a trademark with the PTO.

                                PRAYER FOR RELIEF

      WHEREFORE, Freud asks this Court to enter judgment:

      A.     Reversing the December 2, 2019 Decision of the Trademark Trial and

             Appeal Board in the matter of Milwaukee Electric Tool Corp. v. Freud

             America, Inc., Cancellation Nos. 92059634 and 92059637 with respect to

             the order partially canceling the ‘769 Registration for “cutting tools for

             power woodworking machines, namely . . . saw blades” on the grounds of

             genericness;

      B.     Ordering that the Red Mark, as used in connection with “cutting tools for

             power woodworking machines, namely . . . saw blades” is not generic and

             is registrable as a trademark with the PTO;

      C.     Ordering the PTO not to partially cancel the ‘769 Registration for “cutting

             tools for power woodworking machines, namely . . . saw blades” on the

             grounds of genericness;

      D.     In the first alternative to the relief requested in Paragraphs B and C: (i)

             ordering that the Red Mark, as used in connection with “cutting tools for

             power woodworking machines, namely . . . saw blades excluding

             reciprocating saw blades and jigsaw blades” is not generic and is registrable

             as a trademark with the PTO, and (ii) ordering the PTO to amend the ‘769



                                           -18-
Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 19 of 20 PageID #: 19




          Registration to “cutting tools for power woodworking machines, namely,

          shaper cutters, saw blades excluding reciprocating saw blades and jigsaw

          blades, router bits and forestner bits” and not to partially cancel the ‘769

          Registration as amended in this paragraph;

    E.    In the second alternative to the relief requested in Paragraphs B and C: (i)

          ordering that the Red Mark, as used in connection with “cutting tools for

          power woodworking machines, namely . . . circular saw blades” is not

          generic and is registrable as a trademark with the PTO, and (ii) ordering the

          PTO to amend the ‘769 Registration to “cutting tools for power

          woodworking machines, namely, shaper cutters, circular saw blades, router

          bits and forestner bits”, and not to partially cancel the ‘769 Registration as

          amended in this paragraph; and

    F.    Awarding Freud such other relief as this Court may deem just and

          equitable.




                                        -19-
 Case 1:20-cv-00902-RGA Document 1 Filed 02/03/20 Page 20 of 20 PageID #: 20




Respectfully submitted, this the 3rd day of February, 2020.


                                                  /s/ Jodi D. Hildebran
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